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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ORALDENT LTD.,

       Plaintiff,                                            Civil Action No.: 1:20-cv-00304

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                          COMPLAINT

       Plaintiff, Oraldent Ltd., (“Oraldent” or “Plaintiff”) hereby files this Complaint against the

Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”), and for its Complaint hereby alleges as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq. 28 U.S.C. § 1338(a)–(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under the

laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are so

related to the federal claims that they form part of the same case or controversy and derive from a

common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant domain names and/or the online

marketplace accounts identified in Schedule A attached hereto (collectively, the “Defendant
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Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademark. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer shipping

to the United States, including Illinois, accept payment in U.S. dollars and, on information and

belief, has sold products bearing counterfeit versions of Plaintiff’s federally registered trademark

to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging

in interstate commerce, and has wrongfully caused Plaintiff substantial injury in the State of

Illinois.

                                        INTRODUCTION

        3.     This action has been filed by Plaintiff to combat online counterfeiters who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection with

Plaintiff’s POWER FLOSS trademark, which is covered by U.S. Trademark Registration No.

4,747,510. The registration is valid, subsisting, unrevoked, uncancelled, and incontestable

pursuant to 15 U.S.C. § 1065. The registration for the trademark constitutes prima facie evidence

of validity and of Plaintiff’s exclusive right to use the trademark pursuant to 15 U.S.C. § 1057(b).

A genuine and authentic copy of the U.S. federal trademark registration certificate for the POWER

FLOSS trademark is attached as Exhibit 1.

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        4.      Below is a link and the screenshot of where Oraldent’s authentic POWER FLOSS

products can be purchased from:




https://shop.curaprox.us.com/useful-helpers/177-powerfloss-oral-irrigator.html

        5.          The Defendants operate as a ring of counterfeiters operating on e-commerce sites

such as Amazon, eBay and, Alibaba. E-commerce giant Alibaba has even formed a special task

force to root out illegal counterfeiting rings. According to Alibaba, telltale indications of a

counterfeiting ring and its affiliated manufacturing source in action are the use of fictitious identities

that are adopted to provide the counterfeiting ring with the ability to play whack-a-mole with

authorities.




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www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm

       6.      Plaintiff’s investigation shows that the telltale signs of an illegal counterfeiting ring

are present in the instant action. For example, Schedule A shows the use of store names that employ

no normal business nomenclature and, instead, have the appearance of being made up, or if a company

that appears to be legitimate is used online research shows that there is no known address for the

company. Thus, the Defendant Internet Stores are using fake online storefronts designed to appear

to be selling genuine Plaintiff products, while selling inferior imitations of Plaintiff’s products. The

Defendant Internet Stores also share unique identifiers, such as design elements and similarities of

the counterfeit products offered for sale, establishing a logical relationship between them and

suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence, or series

of transactions or occurrences. Defendants attempt to avoid liability by going to great lengths to

conceal both their identities and the full scope and interworking of their illegal counterfeiting



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operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting of Plaintiff’s

registered trademark, as well as to protect unknowing consumers from purchasing unauthorized

POWER FLOSS products over the Internet. Lastly, Plaintiff’s investigation has discovered that one

of the named defendants in the present action is a factory that produces thousands of products a month

that appear to be supplied to the rest of the counterfeiting ring which are unauthorized and counterfeit

copies             of             the             POWER                  FLOSS                products:




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The factory also specifically supplies text descriptions it suggests for the Defendant Online Stores

use to describe the counterfeit products:




Defendant factory advises other Defendants “if you do business online internationally, we suggest

you order the product without silica gel in order to ship by air, product can be order without box

packaging to reduce size.”




        7.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

Judicial District. In addition, each defendant has offered to sell and ship infringing products into

this Judicial District.




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                                         THE PLAINTIFF

       8.      Plaintiff, Oraldent Ltd., is a United Kingdom company that maintains its principal

place of business at Bicton Industrial Estate, Kimbolton, Cambs UNITED KINGDOM PE280LF.

Plaintiff is engaged in the business of manufacturing, distributing and retailing high quality dental

instruments such as the POWER FLOSS line of oral irrigators and cleaning instruments, including

within the Northern District of Illinois District (collectively, the “Plaintiff Products”) under the

Federally registered trademark POWER FLOSS. Defendants’ sales of Counterfeit Products in

violation of Plaintiff’s intellectual property rights are irreparably damaging Plaintiff.

       9.      Plaintiff’s brand, symbolized by the POWER FLOSS trademark, is a recognized

symbol of high-quality dental products. The POWER FLOSS trademark is distinctive and

identifies the merchandise as goods from Plaintiff. The registration for the POWER FLOSS

trademark constitutes prima facie evidence of its validity and of Plaintiff’s exclusive right to use

the POWER FLOSS trademark pursuant to 15 U.S.C. § 1057 (b).

       10.     The POWER FLOSS trademark is distinctive and identifies the merchandise as

goods from Plaintiff. The registration for the trademark constitutes prima facie evidence of validity

and of Plaintiff’s exclusive right to use the trademark pursuant to 15 U.S.C. § 1057(b). The

POWER FLOSS trademark has been continuously used and never abandoned.

       11.     Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the POWER FLOSS trademark. More importantly, because

Plaintiff’s products are oral dental medical equipment, Plaintiff maintains strict quality control

standards for all products featuring the Plaintiff’s POWER FLOSS mark. Plaintiff’s authentic

products are only manufactured in Malaysia, using medical grade plastic to ensure safety of the

products. Oraldent’s POWER FLOSS products require multiple molds to make and has a unique




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ball bearing system in order to generate the water pressure per shot required to make the products

effective. As a result, products bearing the POWER FLOSS trademark is widely recognized and

exclusively associated by consumers, the public, and the trade as being products sourced from

Plaintiff.

                                        THE DEFENDANTS

        12.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within Illinois and in this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores. Each Defendant targets the United States, including

Illinois, and has offered to sell and, on information and belief, has sold and continues to sell

counterfeit POWER FLOSS products to consumers within the United States, including Illinois and

in this Judicial District.

                         THE DEFENDANTS’ UNLAWFUL CONDUCT

        13.     The success of the POWER FLOSS brand has resulted in its counterfeiting.

Defendants conduct their illegal operations through fully interactive commercial websites hosted

on various e-commerce sites, such as eBay, Wish, Alibaba, Ali Express, Tophatter, DHGate, etc.

(“Infringing Websites” or “Infringing Webstores”). Each Defendant targets consumers in the

United States, including the State of Illinois, and has offered to sell and, on information and belief,

has sold and continues to sell counterfeit products that violate Plaintiff’s intellectual property rights

(“Counterfeit Products”) to consumers within the United States, including the State of Illinois.

        14.     Defendants intentionally conceal their identities and the full scope of their

counterfeiting operations in an effort to deter Plaintiff from learning Defendants’ true identities




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and the exact interworking of Defendants’ illegal counterfeiting operations. Through their

operation of the Infringing Webstores, Defendants are directly and personally contributing to,

inducing and engaging in the sale of Counterfeit Products as alleged, often times as partners, co-

conspirators and/or suppliers. Upon information and belief, Defendants are an interrelated group

of counterfeiters working in active concert to knowingly and willfully manufacture, import,

distribute, offer for sale, and sell Counterfeit Products.

       15.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the POWER FLOSS trademark,

including its exclusive right to use and license such intellectual property and the goodwill

associated therewith. Defendant factory provides product with POWER FLOSS trademark on the

products, the packaging, and even supplies printed product instructions to be sold with counterfeit

products. The printed product instructions specifically states: “POWER FLOSS is a trademark of

Oraldent     Ltd.”     see     screenshot     from      Defendants’      Online     Stores     below:




       16.     Defendants often go to great lengths to conceal their identities by often using multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. Other Defendant domain names often use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet Store

registration patterns are one of many common tactics used by the Defendants to conceal their


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identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

       17.     The counterfeit POWER FLOSS products for sale in the Defendant Internet Stores

bear similarities and indicia of being related to one another, suggesting that the counterfeit POWER

FLOSS products were manufactured by and come from a common source and that, upon information

and belief, Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, unique shopping

cart platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or

similarly priced items and volume sales discounts, similar hosting services, similar name servers,

and the use of the same text and images.

       18.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

domain names or online marketplace accounts under new aliases once they receive notice of a

lawsuit. Counterfeiters also often move website hosting to rogue servers located outside the United

States once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down

demands sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection. A 2012 U.S.

Customs and Border Protection report on seizure statistics indicated that the Internet has fueled

“explosive growth” in the number of small packages of counterfeit goods shipped through the mail

and express carriers.




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        19.     Further, counterfeiters such as Defendants, typically operate multiple credit card

merchant accounts and third-party accounts, such as PayPal, Inc. ("PayPal") accounts, behind layers

of payment gateways so that they can continue operation in spite of Plaintiff’s enforcement efforts.

Upon information and belief, Defendants maintain off-shore bank accounts and regularly move funds

from their PayPal accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed,

analysis of PayPal transaction logs from previous similar cases indicates that offshore counterfeiters

regularly move funds from U.S.-based PayPal accounts to China-based bank accounts outside the

jurisdiction of this Court.

        20.     Upon information and belief, Defendants also deceive unknowing consumers by

using the POWER FLOSS trademark without authorization within the content, text, and/or meta

tags of their websites to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for POWER FLOSS products. Additionally, upon information and

belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social media

spamming so that the Defendant Internet Stores listings show up at or near the top of relevant search

results and misdirect consumers searching for genuine POWER FLOSS products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new domain names to the top of search

results after others are shut down. As such, Plaintiff also seeks to disable Defendant domain names

owned by Defendants that are the means by which the Defendants could continue to sell counterfeit

POWER FLOSS products.

        21.     Defendants’ use of the trademark on or in connection with the advertising,

marketing, distribution, offering for sale and sale of the Counterfeit Products is likely to cause and

has caused confusion, mistake and deception by and among consumers and is irreparably harming




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Plaintiff. Defendants have manufactured, imported, distributed, offered for sale and sold

Counterfeit Products using the POWER FLOSS trademark and continue to do so.

        22.    Defendants, without authorization or license from Plaintiff, knowingly and

willfully used and continue to use the POWER FLOSS trademark in connection with the

advertisement, offer for sale and sale of the Counterfeit Products, through, inter alia, the Internet.

The Counterfeit Products are not genuine POWER FLOSS Plaintiff Products. The Plaintiff did not

manufacture, inspect or package the Counterfeit Products and did not approve the Counterfeit

Products for sale or distribution. Each Infringing Webstore offers shipping to the United States,

including Illinois, and, on information and belief, each Defendant has sold Counterfeit Products

into the United States, including Illinois.

        23.    Defendants also deceive unknowing consumers by using the POWER FLOSS

trademark without authorization within the content, text, and/or meta tags of the listings on

Infringing Webstores in order to attract various search engines crawling the Internet looking for

websites relevant to consumer searches for POWER FLOSS Products and in consumer product

searches within the Webstores.

        24.    Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling Counterfeit Goods that infringe upon the POWER FLOSS trademark

unless preliminarily and permanently enjoined.

        25.    Defendants’ use of the POWER FLOSS trademark in connection with the

advertising, distribution, offering for sale, and sale of counterfeit POWER FLOSS products,

including the sale of counterfeit POWER FLOSS products into Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.




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                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       26.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       27.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered POWER FLOSS

trademark in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The POWER FLOSS trademark is a highly distinctive mark. Consumers have

come to expect the highest quality from Plaintiff’s products provided under the POWER FLOSS

trademark.

       28.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

the POWER FLOSS trademark without Plaintiff’s permission.

       29.     Plaintiff is the exclusive owner of the POWER FLOSS trademark. Plaintiff’s

United States Registration for the POWER FLOSS trademark (Exhibit 1) is in full force and effect.

Upon information and belief, Defendants have knowledge of Plaintiff’s rights in the POWER

FLOSS trademark, and are willfully infringing and intentionally using counterfeits of the POWER

FLOSS trademark. Defendants’ willful, intentional and unauthorized use of the POWER FLOSS

trademark is likely to cause and is causing confusion, mistake, and deception as to the origin and

quality of the counterfeit goods among the general public.

       30.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.




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       31.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its well-

known POWER FLOSS trademark.

       32.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of counterfeit POWER FLOSS products.


                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       33.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       34.     Defendants’ promotion, marketing, offering for sale, and sale of counterfeit POWER

FLOSS products has created and is creating a likelihood of confusion, mistake, and deception among

the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit POWER FLOSS products by Plaintiff.

       35.     By using the POWER FLOSS trademark in connection with the sale of counterfeit

POWER FLOSS products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit POWER FLOSS products.

       36.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the counterfeit POWER FLOSS products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       37.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.




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                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       38.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       39.     Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their counterfeit POWER FLOSS products as those of Plaintiff, causing a likelihood

of confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

POWER FLOSS products, representing that their products have Plaintiff’s approval when they do

not, and engaging in other conduct which creates a likelihood of confusion or misunderstanding

among the public.

       40.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       41.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.


                                          COUNT IV
                                      CIVIL CONSPIRACY

       42.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       43.     Plaintiff is informed and believe and thereon allege that Defendants knowingly and

voluntarily entered into a scheme and agreement to engage in a combination of unlawful acts and

misconduct including, without limitation, engaging in a collaborated efforts to the distribution,




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marketing, advertising, shipping, offering for sale, or sale of fake POWER FLOSS Products are a

violation of the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       44.      The intent, purpose and objective of the conspiracy and the underlying combination

of unlawful acts and misconduct committed by the Defendants was to undermine ORALDENT

and its business by unfairly competing against it as described above.

       45.      The Defendants each understood and accepted the foregoing scheme and agreed to

do their respective part, to further accomplish the foregoing intent, purpose and objective. Thus,

by entering into the conspiracy, each Defendant has deliberately, willfully and maliciously

permitted, encouraged, and/or induced all of the foregoing unlawful acts and misconduct.

       46.      As a direct and proximate cause of the unlawful acts and misconduct undertaken

by each Defendant in furtherance of the conspiracy, ORALDENT has sustained, and unless each

Defendant is restrained and enjoined, will continue to sustain severe, immediate and irreparable

harm, damage and injury for which ORALDENT has no adequate remedy at law.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily preliminarily, and permanently enjoined and restrained from:

       a. using the POWER FLOSS trademark or any reproductions, counterfeit copies, or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine

             POWER FLOSS product or is not authorized by Plaintiff to be sold in connection with

             the POWER FLOSS trademark;



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  b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

     POWER FLOSS product or any other product produced by Plaintiff that is not

     Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

     and approved by Plaintiff for sale under the POWER FLOSS trademark;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit POWER FLOSS products are those sold under the authorization, control,

     or supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

     with Plaintiff;

  d. further infringing the POWER FLOSS trademark and damaging Plaintiff’s goodwill;

  e. otherwise competing unfairly with Plaintiff in any manner;

  f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for

     sale, and which bear any Plaintiff trademark, including the POWER FLOSS trademark,

     or any reproductions, counterfeit copies, or colorable imitations thereof;

  g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     online marketplace accounts, the Defendant domain names, or any other domain name

     or online marketplace account that is being used to sell or is the means by which

     Defendants could continue to sell counterfeit POWER FLOSS products; and

  h. operating and/or hosting websites at the Defendant domain names and any other domain

     names registered or operated by Defendants that are involved with the distribution,

     marketing, advertising, offering for sale, or sale of any product bearing the POWER

     FLOSS trademark or any reproduction, counterfeit copy or colorable imitation thereof that



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           is not a genuine POWER FLOSS product or not authorized by Plaintiff to be sold in

           connection with the POWER FLOSS trademark; and

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph 1,

a through h, above;

       3) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as, but not limited to,

Amazon, ContextLogic, Tophatter, DHGate, and Alibaba Group Holding Ltd., Alipay.com Co.,

Ltd. and any related Alibaba entities (collectively, “Alibaba”), social media platforms, Facebook,

YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts

for the Defendant domain names, and domain name registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit POWER FLOSS products using the POWER FLOSS

           trademark, including any accounts associated with the Defendants listed on Schedule

           A;

       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit POWER FLOSS products using the POWER

           FLOSS trademark; and

       c. take all steps necessary to prevent links to the Defendant domain names identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant domain names from any search index; and




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       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the POWER FLOSS trademark be increased by a sum not exceeding three times

the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the POWER FLOSS trademark;

       7) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.


DATED: January 15, 2020                             Respectfully submitted,

                                                    /s/ Keith A. Vogt
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